                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                      Plaintiff,

              -vs-                                                Case No. 08-CR-53


SERGIO HERNANDEZ,

                      Defendant.

                              DECISION AND ORDER


       The defendant, Sergio Hernandez, filed a motion for the return of property

under Federal Rule of Criminal Procedure 41(g). Postjudgment motions under Rule

41(g) are civil actions subject to the Prison Litigation Reform Act. United States v.

Stevens, 500 F.3d 625, 628 (7th Cir. 2007).          To proceed with such an action,

Hernandez must file a separate lawsuit and pay the filing fee (or use the partial

payment procedures of the PLRA, 28 U.S.C. § 1915(b)). For now, the Court will

DENY the motion [ECF No. 1553] without prejudice.

       Dated at Milwaukee, Wisconsin, this 20th day of August, 2013.



                                                    BY THE COURT:


                                                    __________________________
                                                    HON. RUDOLPH T. RANDA
                                                    U.S. District Judge


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